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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF COLORADO

 In re: DNC AND TCPA LIST SANITIZER, LLC              Case No.: 24-12624-KHT
 EIN: XX-XXXXXXX
                                                      Chapter: 11, Subchapter V
        Debtor.



         Order Granting First Interim Application for Allowance of
   Compensation and Reimbursement of Expenses of Allen Vellone Wolf
  Helfrich & Factor P.C. as Special Counsel for Debtor-In-Possession, DNC
                       and TCPA List Sanitizer, LLC


        THIS MATTER is before the Court on the First Interim Application for
 Allowance of Compensation and Reimbursement of Expenses of Allen Vellone Wolf
 Helfrich & Factor P.C., as Special Counsel for DNC and TCPA List Sanitizer, LLC
 Debtor-In-Possession (the “Application”). No objections have been filed to the
 Application, or having been filed, have been resolved. The Court has reviewed the
 Application and the file, and finds good cause exists to approve the compensation and
 reimbursement of expenses.

        Therefore, it is hereby ORDERED that the Application is GRANTED; interim
 fees in the amount of $33,359.75 and costs in the amount of $458.32, for a total of
 $33,818.07 to Allen Vellone Wolf Helfrich & Factor P.C., for services provided to DNC
 and TCPA List Sanitizer, LLC for the period August 12, 2024, through October 3,
 2024, are APPROVED;

       IT IS FURTHER ORDERED that DNC and TCPA List Sanitizer, LLC is
 authorized to pay such fees and expenses.


       Dated: December 9, 2024.


                                        BY THE COURT:


                                        ___________________________________
                                        Kimberley H. Tyson
                                        Chief United States Bankruptcy Judge
